Case 6:19-cv-01908-WWB-EJK Document 1034 Filed 08/07/23 Page 1 of 18 PageID 51058




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


   WYNDHAM VACATION OWNERSHIP,
   INC., WYNDHAM VACATION
   RESORTS, INC., WYNDHAM RESORT
   DEVELOPMENT CORPORATION,
   SHELL VACATIONS, LLC, SVC-
   AMERICANA, LLC and SVC-HAWAII,
   LLC,

                Plaintiffs,

   v.                                                   Case No. 6:19-cv-1908-WWB-EJK

   SLATTERY, SOBEL & DECAMP, LLP,
   DEL MAR LAW GROUP, LLP,
   CARLSBAD LAW GROUP, LLP, JL
   “SEAN” SLATTERY, PANDORA
   MARKETING, LLC, PANDORA
   SERVICING, LLC, INTERMARKETING
   MEDIA, LLC, KENNETH EDDY,
   WILLIAM WILSON and RICH FOLK,

                Defendants.
                                          /

                                          ORDER

         THIS CAUSE is before the Court on the two-day, non-jury trial that commenced on

   November 3, 2022, on Plaintiffs’ claims against Defendants Slattery, Sobel & Decamp,

   LLP (“SS&D”), Del Mar Law Group, LLP (“Del Mar”), Calsbad Law Group, LLP

   (“Carlsbad”), and JL “Sean” Slattery (“Slattery”) (collectively, “Lawyer Defendants”). A

   default was entered against Defendants Pandora Marketing, LLC (“Pandora

   Marketing”), Pandora Servicing, LLC (“Pandora Servicing”) (collectively, “Pandora”),

   and Intermarketing Media, LLC (“Intermarketing”) (collectively with Pandora, “Marketing

   Defendants”).
Case 6:19-cv-01908-WWB-EJK Document 1034 Filed 08/07/23 Page 2 of 18 PageID 51059




   I.     LEGAL STANDARD

          “In an action tried on the facts without a jury[,] . . . the court must find the facts

   specially   and   state    its   conclusions   of   law   separately.    The    findings   and

   conclusions . . . may appear in an opinion or a memorandum of decision filed by the

   court.” Fed. R. Civ. P. 52(a)(1). “The burden of proof in civil cases is the same regardless

   of whether the finder of fact is a judge in a bench trial or a jury.” Men of Destiny Ministries,

   Inc. v. Osceola Cnty., No. 6:06-cv-624-Orl-31DAB, 2006 WL 3219321, at *3 (M.D. Fla.

   Nov. 6, 2006). Plaintiff bears the burden of establishing, by a preponderance of the

   evidence, each element of its claim. Id. “A ‘preponderance of the evidence’ . . . means

   an amount of evidence that is enough to persuade [the trier of fact] that the Plaintiff’s

   claim is more likely true than not true.” Pattern Jury Instructions (Civil Cases) of the

   Eleventh Circuit, Basic Instruction No. 3.7.1 (2013).

   II.    FINDINGS OF FACT

          Plaintiffs are in the business of selling and maintaining timeshares. Wyndham

   Vacation Ownership, Inc. (“WVO”) is the parent company of Wyndham Vacation Resorts,

   Inc. (“WVR”) and Wyndham Resort Development Corporation (“WRDC”). (Doc. 937 at

   94:6–11). Shell Vacations, LLC (“Shell Vacations”) is the parent company of SVC-

   Americana, LLC (“SVC-Americana”) and SVC-Hawaii, LLC (“SVC-Hawaii”). (Id.). WVR,

   WRDC, SVC-Americana, and SVC-Hawaii sell and manage timeshares through legally

   binding contracts.    (Id. at 95:21–97:1).     WVR and Shell Vacations provide member

   services such as reservations, club activities, and marketing throughout the life of the

   ownership. (Id. at 96:20–97:8). The developers service the club and engage with owners

   for the ongoing life of the contract. (Id. at 97:9–16). After a timeshare owner purchases




                                                  2
Case 6:19-cv-01908-WWB-EJK Document 1034 Filed 08/07/23 Page 3 of 18 PageID 51060




   their product, Plaintiffs communicate through newsletters to advertise new promotions

   and through telephone and e-mail to encourage them to utilize the timeshare. (Id. at

   104:22–105:25).

         Plaintiffs allege that by accepting timeshare exit referrals from Marketing

   Defendants, Lawyer Defendants harm Plaintiffs by participating in false advertisement

   related to Plaintiffs’ timeshare contracts, conspiring with Marketing Defendants to

   interfere with the business relationship between the timeshare owners and Plaintiffs, and

   by violating Florida’s Deceptive and Unfair Trade Practices Act. (See generally Doc. 36).

   Plaintiffs identified 215 owners that retained Slattery and that 227 contracts were thereby

   affected. (Doc. 939 at 190:8–14).

         In May 2017, Slattery discussed with John Donboli using Del Mar for the timeshare

   business. (Doc. 981-11 at 2–3). At that time, Donboli expressed to Slattery his concerns

   about how the marketing was being conducted. (Id. at 3). Slattery, however, was not

   concerned and believed the business provided a good opportunity to generate revenue.

   (Id. at 3–4). Although Slattery had already formed SS&D, he wanted to run the timeshare

   clients through Del Mar so he could receive a better cut. (Id. at 4). Despite Donboli’s

   concerns, Del Mar accepted timeshare referrals from June 2017 through February 2019.

   (Doc. 941 at 421:14–422:14). Twenty-three of those referrals are at issue in this case.

   (Doc. 932-2 at 1–4). Carlsbad began receiving timeshare referrals in March 2019 and

   continues to receive referrals. (Doc. 943 at 770:10–15). Carlsbad received referrals on

   204 of the owners at issue. (Doc. 932-2 at 1–4). From October 2016 through February

   2019, SS&D never represented any timeshare clients, did not receive a referral letter from

   any exit company, never received income related to timeshare work, and never had any




                                               3
Case 6:19-cv-01908-WWB-EJK Document 1034 Filed 08/07/23 Page 4 of 18 PageID 51061




   communication with Wyndham. (Doc. 941 at 418:19–419:5). Slattery is a partner of each

   of the three law firms involved in this litigation. (Id. at 416:8–9, 418:11–13, 420:14–15).

          On March 2, 2017, Slattery learned of the timeshare exit process, which included

   providing a cease-and-desist letter, a recommendation to stop making payments, and

   credit repair. (Doc. 932-692 at 1–2; Doc. 941 at 405:7–408:12). Such process was set

   forth in Marketing Defendants’ sales script used in their calls to potential clients:

          Now, here’s the most important part: Once the attorney sends out a letter
          to your developer, you’re out of your Timeshare because nobody should be
          contacting you whatsoever. That letter is going to tell Wyndham that they’re
          only allowed to talk to our company and our attorney that is going to be
          representing this case.

          You’re also going to call your credit card company and have them put a stop
          pay or do not honor on the card so they don’t keep pulling money out of that
          every month, so you’ll stop bleeding on that.

          So in a short period of time, you’ll be done with the developer, you’re not
          making any more payments, and your credit is preserved[.]

   (Doc. 564-6 at 95:22–96:10, 166:4–19). The Court has already determined that the

   foregoing   statement used in        Marketing    Defendants’ scripts constitutes false

   advertisement. (Doc. 734 at 3, 11). Slattery admitted it is possible that Marketing

   Defendants are still using the same scripts.          (Doc. 941 at 338:1–4).            He also

   acknowledged that he is unable to accept referrals that have been acquired via false and

   misleading advertising. (Id. at 341:5–11). Yet, he has not made any effort to inform

   himself of Marketing Defendants’ current advertising scheme. (Id. at 341:9–14). Slattery

   even stated, “I would be okay with an injunction preventing me from accepting clients that

   were a result of false and misleading advertising.” (Id. at 343:10–13).

          The Marketing Defendants testified that Slattery does in fact know how they are

   marketing their services, and he has not placed any restrictions on advertising. (Doc.



                                                 4
Case 6:19-cv-01908-WWB-EJK Document 1034 Filed 08/07/23 Page 5 of 18 PageID 51062




   981-4 at 2; Doc. 981-5 at 2). Deborah Gonzalez White, a former Del Mar employee,

   attended meetings with Slattery, Wilson, and Folk, in which they discussed general

   procedures. (Doc. 981-13 at 2). Also, Slattery either drafted or worked on a letter to be

   sent by Marketing Defendants that informed their clients that even though they had not

   received confirmation from the developer, the clients “should consider [themselves]

   released from [their] timeshare.” (Doc. 941 at 393:1–7). Slattery also stated in an e-mail

   that he explained to a client that the credit protection provided by Marketing Defendants

   “makes the foreclosure an exit.” (Id. at 401:4–15; Doc. 932-690 at 1). Similarly, an

   employee of Carlsbad told a Pandora Marketing representative that the law firm highly

   encouraged the clients to use the credit repair “because without it I kind of feel like we’re

   all kind of really not doing much for them.” (Doc. 941 at 402:18–403:18).

          The evidence further establishes that Slattery’s relationship with the Marketing

   Defendants extends beyond merely accepting referrals.          There was testimony from

   Marketing Defendants that the attorney provides the resolution to the timeshare exit.

   (Doc. 981-4 at 3). In fact, Pandora advertises an outcome that is being provided by the

   lawyers. (Id.). Initially, Slattery received his fee from the Marketing Defendants, but after

   speaking to an ethics lawyer who suggested that it could be construed as fee-splitting,

   Marketing Defendants instructed its clients to pay Slattery directly. (Doc. 941 at 373:12–

   374:3). Despite receiving his fee directly, Slattery negotiated the fee he would charge his

   timeshare clients with Marketing Defendants. (Id. at 365:20–366:11). In fact, Slattery’s

   request for a higher fee was rejected by Marketing Defendants’ fear that timeshare clients

   would not accept Marketing Defendants’ services, evincing that Slattery was integral to

   Marketing Defendants’ scheme. (Doc. 932-695 at 1–2).




                                                5
Case 6:19-cv-01908-WWB-EJK Document 1034 Filed 08/07/23 Page 6 of 18 PageID 51063




          After signing the Services Agreement, the client signs Slattery’s retainer

   agreement and pays the $750 fee to Slattery. (Doc. 941 at 428:1–13). The retainer

   agreement includes a paragraph that there is no guarantee that the contract will be

   cancelled. (Id. at 428:17–429:4). Slattery stated that there have been occasions where

   the language in his retainer agreement is inconsistent with the client’s understanding from

   Marketing Defendants, but that the retainer agreement reconciles “whether the client

   signs up with [him] or cancels from [Marketing Defendants].” (Id. at 429:5–14). The

   retainer letter advises the timeshare owner that the firm will send a cease-and-desist letter

   and a detailed demand letter to resolve the client’s “situation to the degree possible.” (Id.

   at 430:22–432:1, 432:21–24). Slattery sets forth in the retainer agreement the services

   that he will provide and that his relationship with the owners is separate from Marketing

   Defendants. (Doc. 981-14 at 5–7).

          The timeshare owners, however, do not speak with an attorney when they sign the

   retainer agreement or before the cease-and-desist letter is sent. (Doc. 941 at 444:13–

   446:4). Rather, once the clients sign up with Marketing Defendants, they are placed on

   a Google Drive shared by Lawyer Defendants and Marketing Defendants. (Id. at 427:18–

   23). Lawyer Defendants then obtain the information from Marketing Defendants to draft

   the letters.   (Doc. 981-13 at 5).    Regardless of the location of the client and their

   timeshare, every demand letter references California law because Slattery is only

   licensed in California and because he believes that if a developer has any relationship in

   California, California law applies to their actions in every other state. (Doc. 941 at 446:19–

   447:12). And while Slattery agrees that he has a duty of candor to his clients as a member

   of the California Bar, his retainer agreement does not alert his clients that he is only




                                                 6
Case 6:19-cv-01908-WWB-EJK Document 1034 Filed 08/07/23 Page 7 of 18 PageID 51064




   licensed to practice in California. (Id. at 326:18–22, 444:5–12). As for the total amount

   of legal fees paid, the parties stipulate that the relevant owners paid Lawyer Defendants

   $156,750.00. (Id. at 323:16–18).

          Plaintiffs were suspicious of the letters signed by Slattery because the timeshare

   owners were not located in California, and he and his firms did not have any “expertise in

   the timeshare space.”      (Doc. 937 at 111:4–16).       Nonetheless, Wyndham initially

   investigated sixteen letters from Slattery’s firm but were unable to substantiate any of the

   claims. (Id. at 113:2–15). Wyndham did, however, allow several of the sixteen timeshare

   owners identified in the letters to exit their timeshare. (Id. at 113:7–18). Ultimately,

   Wyndham stopped reviewing Slattery’s letters in Fall 2018. (Id. at 113:22–114:16).

   Undeterred, Slattery continued to send the letters. (Id. at 114:17–20). And despite

   knowing Wyndham would no longer respond to his letters, Slattery did nothing further

   beyond sending the letters as set forth in the retainer agreement, (Doc. 941 at 327:10–

   15, 328:19–21, 433:11–434:1), and considered foreclosure a resolution to the timeshare

   obligation, (Doc. 981-14 at 15).

          Once the timeshare owner retains Slattery and the letters are sent, Wyndham

   loses its opportunity to reengage the timeshare owner to resolve the issues. (Doc. 937

   at 116:14–117:6, 163:12–164:3).      Specifically, Wyndham is prohibited from offering

   options under their Financial Hardship program for timeshare owners who have a loan

   balance but can no longer afford their timeshare. (Id. at 108:16–109:2). In addition to

   losing their ability to communicate with their timeshare owners, the timeshare owners can

   no longer use their timeshares pursuant to Pandora Marketing’s Services Agreement.

   (Doc. 932-638 at 5; Doc. 939 at 270:3–19). Wyndham suffers a loss when the timeshare




                                                7
Case 6:19-cv-01908-WWB-EJK Document 1034 Filed 08/07/23 Page 8 of 18 PageID 51065




   owner does not utilize his timeshare. (Doc. 937 at 162:24–163:11). And Wyndham

   suffers further harm once a timeshare owner becomes delinquent because it must expend

   money and resources to collect the debt and pays costs associated to foreclose on the

   timeshare. (Id. at 160:22–161:14). In addition to the costs to remarket the defaulted

   timeshare, Wyndham must also pay the maintenance fees. (Id. at 161:15–162:4).

          As for payments, Slattery advised the clients that it was their choice to stop making

   payments based on their personal needs, but he accepted referrals from Marketing

   Defendants that do so advise. (Doc. 941 at 436:8–437:2, 451:14–452:5). Slattery,

   however, believed that clients would not get the developers’ attention if they kept paying

   because his clients that continued to pay were not released from their timeshares. (Id. at

   438:5–25).   Although Slattery felt that some of the fees charged by the Marketing

   Defendants were outrageous (for example, Terry Lite paid Pandora Marketing $39,279.49

   to default on his timeshare obligation), he never so informed his clients. (Id. at 326:11–

   17; Doc. 939 at 269:2–8).

          On these facts, Plaintiffs allege three counts against Lawyer Defendants:

   Contributory False Advertising in Violation of the Lanham Act, 15 U.S.C. § 1125(a)(1)

   (Count II); Tortious Interference with Contractual Relations (Count IV); Violation of

   Florida’s Deceptive and Unfair Trade Practices Act (“FDUTPA”) (Count V); and Civil

   Conspiracy to Commit Tortious Interference (Count VI). (Doc. 36 at 39–52). Plaintiffs

   seek disgorgement damages and a permanent injunction. (See id. at 52).

   III.   STANDING

          The Court finds that Plaintiffs have standing to sue Lawyer Defendants. Much ado

   was made about which entity owned the loans at the time the injury occurred or when the




                                                8
Case 6:19-cv-01908-WWB-EJK Document 1034 Filed 08/07/23 Page 9 of 18 PageID 51066




   lawsuit was filed. Although Plaintiffs presented evidence that they repurchased the

   subject loans that were securitized 1 prior to filing the Amended Complaint, the Court finds

   that ownership of the loans is not required to establish an actual controversy. The

   evidence is uncontroverted that the timeshare owners’ beef was with Plaintiffs, Marketing

   Defendants focused their false advertisement on Plaintiffs, and Lawyer Defendants

   directed their correspondence to Plaintiffs. Although the loans were securitized, Plaintiffs

   continued to service the timeshares themselves and kept in contact with the timeshare

   owners.

          The Court also rejects Lawyer Defendants’ argument that the judgment must be

   entered against SVC-Americana and SVC-Hawaii because neither have obtained a

   certificate of authority to transact business in Florida and have failed to comply with

   section 605.0904(1), Florida Statutes.      SVC-American and SCV-Hawaii may pursue

   claims arising under federal law pursuant to Federal Rule of Civil Procedure 17(b)(3)(A)

   along with any supplementary state law claims. See Reviv IP, LLC v. Revive Health &




          1 Wyndham Consumer Finance. Inc. (“WFO”), a third party, services the loans and

   maintenance fees. (Doc. 937 at 95:1–7). There are also securitization SPEs that buy the
   loans when they are securitized. (Id. at 95:8–11). Plaintiffs securitize certain loans by
   selling them to a third party, but the timeshare ownership is not securitized. (Id. at
   150:24–151:3, 152:21–23). If a securitized loan defaults, Wyndham repurchases the
   loans, moves it back to WFO, and then back to the developer entities. (Id. at 152:2–8).
   While WFO is not contractually obligated to repurchase a securitized loan that is in
   default, the loan would “sit . . . in limbo indefinitely . . . in a special purpose entity that
   doesn’t have any operations to recover the inventory.” (Id. at 153:9–16). In other words,
   to recoup the inventory Wyndham must repurchase it. (Id. at 153:17–20). Wyndham also
   receives a residual interest on the securitized loans that are not in default. (Id. at 153:21–
   154:11). Anything that went delinquent prior to July 22, 2019, was repurchased before
   filing the lawsuit. (Id. at 155:12–156:6). Indeed, 227 loans were repurchased by the
   developers prior to the lawsuit being filed. (Id. at 157:6–158:15; Doc. Nos. 932-274–932-
   495).



                                                 9
Case 6:19-cv-01908-WWB-EJK Document 1034 Filed 08/07/23 Page 10 of 18 PageID 51067




   Wellness Stuart, LLC, No. 19-62923-CIV, 2020 WL 4936987, at *2 (S.D. Fla. Aug. 24,

   2020).

   IV.      CLAIMS

            A.     Contributory False Advertising (Count II)

            The Court granted summary judgment as to the first four elements of the Lanham

   Act claim—specifically finding that Marketing Defendants’ solicitations were misleading,

   had the capacity to deceive timeshare owners, the deception had a material effect on the

   timeshare owners’ decisions to pay for the Marketing Defendants’ services, which

   includes Lawyer Defendants’ services, and the misrepresentations affect interstate

   commerce. (Doc. 734 at 10–11); see, e.g., Hickson Corp. v. N. Crossarm Co., 357 F.3d

   1256, 1260 (11th Cir. 2004).

            Because Count II alleges a contributory claim, Plaintiffs must still prove that Lawyer

   Defendants contributed to Marketing Defendants’ misrepresentations. To do so, Plaintiffs

   must establish: (1) that the “third party in fact directly engaged in false advertising that

   injured the plaintiff” and (2) “that the defendant contributed to that conduct either by

   knowingly inducing or causing the conduct, or by materially participating in it.” Duty Free

   Ams., Inc. v. Estee Lauder Cos., 797 F.3d 1248, 1277 (11th Cir. 2015). Contribution can

   be proven by showing that Lawyer Defendants “intended to participate in or actually knew

   about the false advertising.” U.S. Structural Plywood Integrity Coal. v. PFS Corp., 524 F.

   Supp. 3d 1320, 1329–30 (S.D. Fla. 2021) (quoting Duty Free Ams., 797 F.3d at 1277).

   “The plaintiff must also [prove] that the defendant actively and materially furthered the

   unlawful conduct—either by inducing it, causing it, or in some other way working to bring

   it about.” Id. (quoting Duty Free Ams., 797 F.3d at 1277). “[T]he Eleventh Circuit




                                                  10
Case 6:19-cv-01908-WWB-EJK Document 1034 Filed 08/07/23 Page 11 of 18 PageID 51068




   specifically found it ‘conceivable that there could be circumstances under which the

   provision of a necessary product or service, without which the false advertising would not

   be possible, could support a theory of contributory liability.’”    Bluegreen Vacations

   Unlimited, Inc. v. Timeshare Lawyers P.A., No. 20-24681-Civ, 2023 WL 3198192, at *13

   (S.D. Fla. May 2, 2023) (quoting Duty Free Ams., 797 F.3d at 1277).

         Here, there is evidence that Slattery and his law firms materially participated in

   Marketing Defendants’ false advertisement to the extent that Marketing Defendants

   cannot sell their services without Lawyer Defendants and Lawyer Defendants would not

   be representing timeshare owners without Marketing Defendants’ referrals.            U.S.

   Structural Plywood, 524 F. Supp. 3d at 1333 (finding that because the third party and the

   defendants would be out of business without the false advertising, it was hard to suggest

   that the false advertisements did not advance the defendants’ business interests). The

   evidence further establishes that Slattery was aware of Marketing Defendants’ process,

   knew of their deceptive sales practices, took no action to correct the deception, and

   instead continued to accept Marketing Defendants’ referrals.          Moreover, Lawyer

   Defendants participated in the false advertisement by accepting the referrals and sending

   the cease-and-desist letters to Plaintiffs—the step that Marketing Defendants advertised

   to consumers released the timeshare owners from their timeshare obligations. See

   Bluegreen Vacations, 2023 WL 3198192, at *13 (finding sufficient evidence that

   “Marketing Defendants’ entire scheme would fall short without the services of the Lawyer

   Defendants”). Although, Slattery testified that his agreement offered no guarantee, such

   agreement only came after the timeshare owners had paid thousands of dollars to

   Marketing Defendants based on the representation that Slattery’s letter was necessary to




                                              11
Case 6:19-cv-01908-WWB-EJK Document 1034 Filed 08/07/23 Page 12 of 18 PageID 51069




   terminate the timeshare.          In addition, Slattery’s alleged ignorance to Marketing

   Defendants’ advertisement is no defense. It has been held that “‘looking the other way’

   easily satisfies the ‘material participation’” standard. U.S. Structural Plywood, 524 F.

   Supp. 3d at 1332 (quoting Duty Free Ams., 797 F.3d at 1277). Finally, Plaintiffs were

   damaged by the false advertisement because once the timeshare owners were enticed

   by the false advertisement to pay for Defendants’ services, Plaintiffs could no longer

   reach out to the timeshare owners to offer a remedy and the timeshare owners were

   bound by their contract with Marketing Defendants to no longer use their timeshares.

   Accordingly, the Court finds that Plaintiffs have been injured by Lawyer Defendants’

   contribution to Marketing Defendants’ false advertisement and that a permanent

   injunction is warranted.

          If a party establishes a false advertising violation under the Lanham Act, the party

   “shall be entitled, . . . subject to the principles of equity, to recover . . . defendant’s profits[.]

   TB Food USA, LLC v. Am. Mariculture, Inc., No. 2:17-cv-9-FtM-29NPM, 2022 WL

   3028061, at *18 (M.D. Fla. Aug. 1, 2022) (citing 15 U.S.C. § 1117(a)). As long as the

   amount of profits is not speculative, the Lanham Act permits the disgorgement of profits

   without proof of particular financial harm. See Hard Candy, LLC v. Anastasia Beverly

   Hills, Inc., 921 F.3d 1343, 1353 (11th Cir. 2019). Thus, the Court finds that Plaintiffs are

   entitled to a disgorgement award in the amount of $156,750.00, the amount of profits

   stipulated to by the parties.

          B.      Civil Conspiracy to Commit Tortious Interference (Count VI)

          In Florida, “to state a claim for civil conspiracy, [Plaintiffs’] must allege ‘(a) an

   agreement between two or more parties, (b) to do an unlawful act or to do a lawful act by




                                                    12
Case 6:19-cv-01908-WWB-EJK Document 1034 Filed 08/07/23 Page 13 of 18 PageID 51070




   unlawful means, (c) the doing of some overt act in pursuance of the conspiracy, and (d)

   damage to plaintiff[s] as a result of the acts done under the conspiracy.’” United Techs.

   Corp. v. Mazer, 556 F.3d 1260, 1271 (11th Cir. 2009) (quoting Charles v. Fla. Foreclosure

   Placement Ctr., LLC, 988 So. 2d 1157, 1159–60 (Fla. 3d DCA 2008)). “[T]here is no

   freestanding cause of action in Florida for ‘civil conspiracy.’” Logan v. Morgan, Lewis &

   Bockius LLP, 350 So. 3d 404, 412 (Fla. 2d DCA 2022) (quoting Tejera v. Lincoln Lending

   Servs., LLC, 271 So. 3d 97, 103 (Fla. 3d DCA 2019)). Instead, “the allegations of

   conspiracy permit the plaintiff to hold each conspirator jointly liable for the actions of the

   coconspirators.” Id. (quotation omitted). “Significantly, ‘[a] conspirator need not take part

   in the planning, inception, or successful conclusion of a conspiracy. The conspirator need

   only know of the scheme and assist in it in some way to be held responsible for all of the

   acts of his coconspirators.” Id. (quoting Donofrio v. Matassini, 503 So. 2d 1278, 1281

   (Fla. 2d DCA 1987)); see also Cordell Consultant, Inc. Money Purchase Plan & Tr. v.

   Abbott, 561 F. App’x 882, 886 (11th Cir. 2014); Bluegreen Vacations, 2023 WL 3198192,

   at *15. “[T]he existence of a conspiracy may be inferred from the nature of the acts done,

   the relation of the parties, the interests of the alleged conspirators, and other

   circumstances.” Lucky Cap. Mgmt., LLC v. Miller & Martin, PLLC, 762 F. App’x 719, 727

   (11th Cir. 2019) (quotation omitted).

           Plaintiffs allege tortious interference with business relationships as the underlying

   tort.   Under Florida law, to prove tortious interference with a business relationship

   Plaintiffs must prove: “(1) the existence of a business relationship[;] (2) knowledge of the

   relationship on the part of the defendant; (3) an intentional and unjustified interference

   with the relationship by the defendant; and (4) damage to the plaintiff as a result of the




                                                13
Case 6:19-cv-01908-WWB-EJK Document 1034 Filed 08/07/23 Page 14 of 18 PageID 51071




   breach of the relationship.” Ethan Allen, Inc. v. Georgetown Manor, Inc., 647 So. 2d 812,

   814 (Fla. 1994) (quotation omitted).     “[W]here the defendant’s motive is not purely

   malicious, a tortious interference claim may succeed if improper methods were used.”

   KMS Rest. Corp. v. Wendy’s Int’l, Inc., 361 F.3d 1321, 1327 (11th Cir. 2004) (citations

   omitted).

         Here, there was an agreement between Lawyer Defendants and Marketing

   Defendants that Lawyer Defendants would send a cease-and-desist letter and demand

   letter to Plaintiffs under false pretenses—that doing so would facilitate a timeshare exit

   from timeshares sold and maintained by Plaintiffs. Defendants knew that a business

   relationship existed between the timeshare owners and Plaintiffs. Lawyer Defendants,

   knowing there would be no response from Plaintiffs, intentionally sent cease-and-desist

   letters and baseless demand letters, that effectively ended any business relationship

   between Plaintiffs and the timeshare owners. Lawyer Defendants did so with knowledge

   that the promises made by Marketing Defendants to the timeshare owners were false and

   misleading. In sum, Lawyer Defendants were “knowingly helping to further the unlawful

   acts of [Marketing Defendants]” to interfere with business relationships between Plaintiffs

   and timeshare owners. Logan, 350 So. 3d at 414.

         Slattery’s defense suggested that Wyndham should have advised the timeshare

   owners that Plaintiffs would simply take the timeshare property back and release the

   owners in the event of a default or that they would not seek a deficiency judgment in the

   event of foreclosure. (Doc. 939 at 219:25–220:18). Yet, Slattery offered no explanation

   for why he, as their attorney, did not offer such advice. Instead, he intentionally took

   referrals knowing the timeshare owners were paying Marketing Defendants what were,




                                               14
Case 6:19-cv-01908-WWB-EJK Document 1034 Filed 08/07/23 Page 15 of 18 PageID 51072




   sometimes, exorbitant fees when his clients could have simply stopped paying for free.

   See Logan, 350 So. 3d at 414 (finding that the defendant’s refusal to disclose the co-

   conspirator’s wrongdoing and participating in related litigation were not acts of diligent

   representation but rather acts of a coconspirator attempting to keep his own role in the

   conspiracy from becoming known).

          Finally, Plaintiffs were damaged by the interference because they could no longer

   communicate with the timeshare owners in order to maintain their business relationship

   and were ultimately forced to pay to initiate foreclosure proceedings and remarket the

   defaulted timeshares facilitated by Defendants. Accordingly, the Court finds a permanent

   injunction is warranted.

   V.     Violation of FDUTPA (Count V)

          “FDUTPA prohibits ‘[u]nfair methods of competition, unconscionable acts or

   practices, and unfair or deceptive acts or practices in the conduct of any trade or

   commerce.’” Carriuolo v. Gen. Motors Co., 823 F.3d 977, 983 (11th Cir. 2016) (quoting

   Fla. Stat. § 501.204(1)). In order to prove a FDUTPA claim a plaintiff must prove that the

   defendant engaged in a deceptive act or unfair practice that caused actual damages.

   Stewart Agency, Inc. v. Arrigo Enters., Inc., 266 So. 3d 207, 212 (Fla. 4th DCA 2019).

          “[A]n entity does not have to be a consumer to bring a FDUTPA claim, [but] it still

   must prove the elements of the claim, including an injury to a consumer.” Id.; Orange

   Lake Country Club, Inc. v. Castle Law Grp., P.C., No. 6:17-cv-1044-Orl-31DCI, 2018 WL

   1535719, at *5 (M.D. Fla. Mar. 29, 2018); see also Fla. Stat. § 501.211(2) (stating that

   “[i]n any action brought by a person . . . , such person may recover” (emphasis added)).

   Further, although “[l]awyers acting to exercise a legal remedy are typically not considered




                                               15
Case 6:19-cv-01908-WWB-EJK Document 1034 Filed 08/07/23 Page 16 of 18 PageID 51073




   to be engaged in trade or commerce[,]” “[l]awyers are not per se exempt from FDUTPA.”

   Club Exploria, LLC v. Aaronson, Austin, P.A., No. 6:18-cv-576-Orl-28DCI, 2020 WL

   6585802, at *7 (M.D. Fla. Nov. 10, 2020) (citing Kelly v. Palmer, Reifler, & Assocs., P.A.,

   681 F. Supp. 2d 1356, 1371 (S.D. Fla. 2009).

          “To satisfy the first element, the plaintiff must show that ‘the alleged practice was

   likely to deceive a consumer acting reasonably in the same circumstances.’” Carriuolo,

   823 F.3d at 983–84 (quoting Florida v. Com. Com. Leasing, LLC, 946 So. 2d 1253, 1258

   (Fla. 1st DCA 2007)). “[D]eception occurs if there is a representation, omission, or

   practice that is likely to mislead the consumer acting reasonably in the circumstances, to

   the consumer’s detriment.” Zlotnick v. Premier Sales Grp., Inc., 480 F.3d 1281, 1284

   (11th Cir. 2007) (quoting PNR, Inc. v. Beacon Prop. Mgmt., Inc., 842 So. 2d 773, 777

   (Fla. 2003)). “This is an objective test, i.e., a party asserting a deceptive trade practice

   need not show actual reliance on the representation or omission at issue.” Westgate

   Resorts, Ltd. v. Sussman, 387 F. Supp. 3d 1318, 1363 (M.D. Fla. 2019) (quotation

   omitted). It has been held that evidence of a lawyer who represents to his client that a

   mere letter will relieve a timeshare owner of its contractual obligation satisfies the first

   element of a FDUTPA claim. See id. at 1364; Bluegreen Vacations, 2023 WL 3198192,

   at *16–18 (“Contrary to the Lawyer Defendants’ assertion, however, the conduct at issue

   does not pertain to their legal practice, but instead to their close involvement in, and

   facilitation of, the Marketing Defendants’ business scheme.”). Further, it is undisputed

   that at least one of Lawyer Defendants’ clients, Terry Lite, resides in Florida. FDUTPA

   “applies to practices directly affecting Florida consumers” and “there is no requirement




                                               16
Case 6:19-cv-01908-WWB-EJK Document 1034 Filed 08/07/23 Page 17 of 18 PageID 51074




   that the problematic conduct occur[ ] entirely within Florida.” Bluegreen Vacations, 2023

   WL 3198192, at *16–18 (internal quotations and citations omitted).

          As for causation and harm, Terry Lite—and others—accepted Lawyer Defendants’

   representation based on Marketing Defendants’ representations and relied on their

   services as a legal means to exit his timeshare and defaulted on his obligations. Thus,

   the evidence demonstrates that Defendants’ practices were deceptive to objectively

   reasonable consumers. See id. Finally, Plaintiffs have established they were harmed by

   Lawyer Defendants’ deception based on the costs to repossess and resell the timeshare

   interests associated with the defaulted loans. Based on the foregoing, the Court finds

   that injunctive relief under FDUTPA is warranted. See Wyndham Vacation Resorts, Inc.

   v. Timeshares Direct, Inc., 123 So. 3d 1149, 1152 (Fla. 5th DCA 2012) (reiterating that

   “[s]ection 501.211(1), Florida Statutes, permits a claim for injunctive relief by ‘anyone

   aggrieved’ by an unfair or deceptive act, which has occurred, is now occurring, or is likely

   to occur in the future.”).

   VI.    CONCLUSION

          Having carefully considered the evidence presented at trial, the Court finds in favor

   of Plaintiffs, and against Defendants Slattery, Sobel & Decamp, LLP, Del Mar Law Group,

   LLP, Carlsbad Law Group, LLP, and JL “Sean” Slattery, as to Counts II, V, and VI.

   Plaintiffs are entitled to a disgorgement award in the amount of $156,750.00. On or before

   August 18, 2023, Plaintiffs shall submit a proposed permanent injunction in accordance

   with this Order.

          DONE AND ORDERED in Orlando, Florida on August 7, 2023.




                                               17
Case 6:19-cv-01908-WWB-EJK Document 1034 Filed 08/07/23 Page 18 of 18 PageID 51075




   Copies furnished to:

   Counsel of Record




                                       18
